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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Ebony Chambers, Administratrix for the
Estate of Rahsaan Chambers, et. al.

v. 23-cv-137-KNS

City of Philadelphia, et. al.

ORDER
AND NOW, this ] ~ dayof_ - “pt , 2024 upon consideration of the
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motion of plaintiffs’ motion to take the deposition of three incarcerated individual that include

Ray Smith, DeAndre Williams and Lewis Brown pursuant to F.R.C.P. 30(a)(2) and the consent of
the defendants, it is hereby ORDERED and DECREED that said motion is granted. It is further
ORDERED that counsel for plaintiffs shall be permitted to depose Ray Smith, an individual
presently incarcerated at a state correctional institution in Pennsylvania, DeAndre Williams, an
individual presently incarcerated at a jail in the County of Philadelphia, and Lewis Brown, an
individual presently incarcerated at a jail in the County of Philadelphia at a location and in a
manner to be determined and at a time and date convenient to the parties and the administration

of the Pennsylvania Department of Prisons and the Philadelphia Department of Prisons.

UNITED STATES DISTRICT COURT

HONORABLE KAI SCOTT
UNITED STATES DISTRICT COURT JUDGE

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Certification of Service
I hereby certify that on September 3, 2024, I electronically filed Plaintiff’s Motion
to Take the Deposition of Incarcerated Person Pursuant to F.R.C.P. 30(a)(2) with
the Clerk of this Court by using the CM/ECF system. The participants in the case
are registered CM/ECF users and service will be accomplished by the CM/ECF

system and include:

Andrew Pomager, Esq.
Emily Hoff, Esq.
Nicolas Cummins, Esq.
Sarah Gray, Esq.
John Gonzalez, Esq.
Jahlee Hatchett, Esq.

/s/ Alan J. Tauber

